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                                                                                                       March 31, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
UNITED STATES OF AMERICA,                                                        CONSENT TO PROCEED BY
                                                                                 VIDEOCONFERENCE
                           -v-
                                                                                 _ _ -CR-_ _ _L)              (_)

                                     Defendant(s} .
--------------------------------------------------------X

Defendant I]\,\ 0 ,.; f-\-fl .\,\ ~ S°1A-,JCG c           hereby voluntarily consents to
participate in the following proceeding via videoconferencing:

 /       Initial Appearance/Appointment of Counsel

         Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

         Preliminary Hearing on Felony Complaint

         Ba il/Revocation/Detention Hearing

         Status and/or Schedu ling Conference

         Misdemeanor Plea/Trial/Sentence




M 9)--V\.tAfvvc S c»tO-,tlcJ
Defendant's Signature                                             Defense Counsel's Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

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Print Defendant's Name                                            Print Defense Counsel's Name



This proceeding was conducted by reliable videoconferencing technology.


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Date                                                              U.S. Magistrate Judge
